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                            No. 23-60069

           In the United States Court of Appeals
                   for the Fifth Circuit

    STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL QUALITY;
  LUMINANT GENERATION COMPANY, L.L.C.; COLETO CREEK POWER, L.L.C.;
ENNIS POWER COMPANY, L.L.C.; HAYS ENERGY, L.L.C.; MIDLOTHIAN ENERGY,
 L.L.C.; OAK GROVE MANAGEMENT COMPANY, L.L.C.; WISE COUNTY POWER
 COMPANY, L.L.C.; ASSOCIATION OF ELECTRIC COMPANIES OF TEXAS; BCCA
 APPEAL GROUP; TEXAS CHEMICAL COUNCIL; TEXAS OIL & GAS ASSOCIATION;
  PUBLIC UTILITY COMMISSION OF TEXAS; RAILROAD COMMISSION OF TEXAS;
    STATE OF MISSISSIPPI; MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL
  QUALITY; MISSISSIPPI POWER COMPANY; STATE OF LOUISIANA; LOUISIANA
  DEPARTMENT OF ENVIRONMENTAL QUALITY; ENTERGY LOUISIANA, L.L.C.;
     LOUISIANA CHEMICAL ASSOCIATION; MID-CONTINENT OIL AND GAS
ASSOCIATION; LOUISIANA ELECTRIC UTILITY ENVIRONMENTAL GROUP, L.L.C.;
                  TEXAS LEHIGH CEMENT COMPANY, LP,
                                        Petitioners,
                                  v.
UNITED STATES ENVIRONMENTAL PROTECTION AGENCY; MICHAEL S. REGAN,
 ADMINISTRATOR, UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,
                                        Respondents,


       BRIEF OF APPELLANT LOUISIANA DEPARTMENT OF
      ENVIRONMENTAL QUALITY AND STATE OF LOUISIANA



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           CERTIFICATE OF INTERESTED PERSONS

     Under the fourth sentence of Fifth Circuit Rule 28.2.1, Petitioner is

a governmental party and as such does not need to furnish a certificate

of interested persons.

                              /s/ Joseph S. St. John
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          STATEMENT REGARDING ORAL ARGUMENT

     This Petition for Review raises important questions regarding

whether the federal government may reject the State of Louisiana’s

efforts to govern itself under a system of cooperative federalism created

by Congress. The resolution of this Petition will substantially affect the

State and its citizens. Oral argument would assist the Court in resolving

this Petition.




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                             INTRODUCTION

      Louisiana has clean air. When the federal government set new

ozone standards, Louisiana met them immediately. But areas in other

States have struggled to attain or maintain those same standards.

Because the chemicals that form ozone can travel with the wind, the

Clean Air Act (CAA) requires States like Louisiana to submit a plan to

ensure that they are not significantly contributing to those downwind

problems.    In deference to the States’ role in the federal system,

Congress―through       the   CAA—vested          primary    responsibility      and

discretion for achieving federal air quality standards with the States,

including by having them create the implementation plans. After setting

the new ozone standard, the Environmental Protection Agency (EPA)

accordingly provided only general guidance and stressed that States had

broad flexibility.

      Louisiana considered air quality modeling that EPA included in its

guidance and then performed its own using techniques that EPA has

lauded. Louisiana’s submission demonstrated that even on days with

high ozone at downwind monitoring stations, the air had usually not

crossed Louisiana. And even when it did, the air was rarely from areas


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with sources of emissions that would create ozone.                So Louisiana

reasonably concluded that it did not contribute significantly to downwind

problems.

     EPA had one year to review Louisiana’s plan. More than three

years later, EPA finally disapproved it. In the interim, EPA had changed

its mind on the flexibilities it had promised and had performed multiple

rounds of new modeling with data that did not exist when Louisiana

submitted the plan. Time and again, in reviewing the plan, EPA applied

a heavy burden of demonstration and considered factors that were not

found in the CAA. EPA also judged Louisiana based on the new data and

modeling, even though Louisiana could not have anticipated those

results. And EPA rejected Louisiana’s analysis and arguments based on

generalities that contradicted EPA’s own positions, without ever

addressing Louisiana’s central points.

In short, EPA did not respect its limited role in the process of reviewing

Louisiana’s plan under the CAA or the flexibilities it had promised and

Louisiana had relied upon.

     Because EPA has transgressed its limited role under the CAA,

failed to properly account for Louisiana’s justified reliance interests, and


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rejected Louisiana’s work without reason, EPA’s disapproval of

Louisiana’s plan should be set aside.




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                   STATEMENT OF JURISDICTION

      The Court has jurisdiction to review EPA’s disapproval of

Louisiana’s good neighbor state implementation plan pursuant to 42

U.S.C. § 7607(b)(1). Notice of EPA’s final action disapproving Louisiana’s

SIP was published in the Federal Register on February 13, 2023. CI HQ-

20 at 9,336.1 The State of Louisiana and the Louisiana Department of

Environmental Quality (LDEQ) timely filed their Petition for Review on

March 20, 2023, Dkt. 63, within sixty days of publication of the notice of

the final action challenged, see 42 U.S.C. § 7607(b)(1).

      A motions panel of this Court determined that venue for the

Petition is appropriate in this Court. Dkt. 269.




1 “CI” refers to the certiﬁed index of record that EPA ﬁled on April 13, 2023. Dkt.
208. Documents are uniquely identiﬁed by the EPA ofﬁce listed after the ﬁrst hyphen
in the “Document ID” column of the certiﬁed index (“HQ” for headquarters or “R” for
a numbered regional ofﬁce) and the ﬁnal four digits (minus leading zeros) of the
“Document ID.” Louisiana will ﬁle an appendix tabbed according to this citation
format.
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                        ISSUES PRESENTED

1. Whether EPA’s final action disapproving Louisiana’s “good neighbor”

  state implementation plan was arbitrary and capricious and beyond

  its authority for disregarding the Clean Air Act’s structure, for not

  considering Louisiana’s reliance interests, and for being inconsistent

  in its treatment of the States.

2. Whether EPA’s final action was arbitrary and capricious for treating

  Louisiana’s analyses of its downwind contribution as flawed, for

  failing to recognize EPA’s parallel use of the same types of analysis,

  and for failing to address Louisiana’s arguments.




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                       STATEMENT OF THE CASE

I.    Statutory and regulatory framework

      The Clean Air Act (CAA) is an “experiment in cooperative

federalism.” Luminant Generation Co. v. EPA, 675 F.3d 917, 921 (5th

Cir. 2012) (quoting Michigan v. EPA, 268 F.3d 1075, 1083 (D.C. Cir.

2001)). It “establishes a comprehensive program for controlling and

improving the nation’s air quality,” but it divides responsibility between

“state and federal regulation.” BCCA Appeal Group v. EPA, 355 F.3d

817, 821–22 (5th Cir. 2003). This division “reflects the balance of state

and federal rights and responsibilities characteristic of our federal

system of government.” Luminant Generation Co., 675 F.3d at 921

(quoting Fla. Power & Light Co. v. Costle, 650 F.2d 579, 581 (5th Cir.

1981)).

      A.    The process for regulating air quality

      Under the CAA, the federal government sets the maximum

allowable concentration of air pollutants—the National Ambient Air

Quality Standards (NAAQS).2 Id. The States then “bear ‘the primary

responsibility’ for implementing those standards” by developing and


2 See 42 U.S.C. §§ 7408(a), 7409(a). Every five years, EPA must revise each NAAQS
as appropriate. Id. § 7409(d)(1).
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administering State Implementation Plans (SIPs) that meet certain

statutory criteria. Id. (quoting BCCA Appeal Group, 355 F.3d at 822);

see 42 U.S.C. § 7410(a)(2). A State has “wide discretion in formulating

its plan” for achieving those standards. See Texas v. EPA, 829 F.3d 405,

411 (5th Cir. 2016) (“Texas 2016”) (quoting Union Elec. Co. v. EPA, 427

U.S. 246, 250 (1976)).

     After SIP submission, the CAA “confines the EPA to the

ministerial function of reviewing SIPs for consistency with the Act’s

requirements.” Luminant Generation Co., 675 F.3d at 921. This is a

“limited,” “deferential role.” Texas 2016, 829 F.3d at 428; Texas v. EPA,

690 F.3d 670, 675 (5th Cir. 2012) (“Texas 2012”). EPA “does not possess

any ‘discretionary authority’ in [the SIP approval] process. Only the

states enjoy discretion in implementing the dictates of the CAA.”

Luminant Generation Co., 675 F.3d at 928 n.8 (citation omitted); see also

Fla. Power, 650 F.2d at 587 (“The great flexibility accorded the states

under the Clean Air Act is further illustrated by the sharply contrasting,

narrow role to be played by EPA.”); Michigan, 268 F.3d at 1083 ( EPA’s

“overarching role is in setting standards, not in implementation”). If a

SIP meets the statutory requirements, “EPA must approve it.” Texas


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2012, 690 F.3d at 676 (emphasis added); see also 42 U.S.C. § 7410(k)(3)

(stating EPA “shall approve” any SIP meeting all “applicable

requirements” of CAA).       The structure of the CAA “indicates a

congressional preference that states, not EPA, drive the regulatory

process.” Texas 2016, 829 F.3d at 411.

     EPA is to “assume the role of primary regulator” only if the State

has “not complied with the requirements of the [CAA].” Id. at 412. If

EPA correctly disapproves a SIP, it may promulgate a Federal

Implementation Plan (FIP) to fill in any gaps.             Id.; see 42 U.S.C.

§§ 7410(c)(1), 7602. If EPA finds that the current implementation plan

for a State is “substantially inadequate,” it may issue a SIP “call”

requiring SIP revision. 42 U.S.C. § 7410(k)(5).

     The cooperative federalism of the CAA extends to timing. States

have three years to submit a revised SIP after “any new or revised

NAAQS.” EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 498

(2014) (citing 42 U.S.C. § 7410(a)(1)).         EPA then must determine

whether a submitted SIP is complete in form within six months. 42

U.S.C. § 7410(k)(1)(B). Once EPA makes its completeness finding, the




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CAA provides that EPA “shall act” on the SIP within 12 months—

approving or disapproving it. Id. § 7410(k)(2)–(3).

      B.   The CAA’s “good neighbor” provision

      The CAA sets requirements for the SIPs that States must submit

following the promulgation of a new NAAQS. 42 U.S.C. § 7410(a)(2).

These SIPs are known as “infrastructure” SIPs. See CI HQ-20 at 9,336.

Relevant here is one component, the “good neighbor” or “interstate

transport” provision. It requires “upwind States to reduce emissions to

account for pollution exported beyond their borders.” EME Homer, 572

U.S. at 499.   Under that provision, a SIP “shall contain” “adequate

provisions prohibiting, consistent with the provisions of [subchapter I],

any source or other type of emissions activity within the State from

emitting any air pollutant in amounts which will contribute significantly

to nonattainment in, or interfere with maintenance by, any other State

with respect to any [NAAQS].” 42 U.S.C. § 7410(a)(2)(D)(i)(I).

II.   Procedural history of EPA’s actions

      A.   Prior rulemakings

      Ozone is a chemical in smog. Am. Petroleum Inst. v. Costle, 665

F.2d 1176, 1181 (D.C. Cir. 1981).          It forms through photochemical


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processes after precursors, including nitrogen oxide (NO x), are emitted

from various sources (such as power plants) and drift with the wind. See

EME Homer, 572 U.S. at 497. EPA set the NAAQS for ozone at 120 parts

per billion (ppb) in 1979 and has progressively reduced it. See Michigan

v. EPA, 213 F.3d 663, 670 (D.C. Cir. 2000).

     Over the years, EPA has tried multiple approaches to give content

to the CAA’s good neighbor provision after its revision in 1990. In 1998,

EPA issued the NOx SIP Call through notice-and-comment rulemaking.

See North Carolina v. EPA, 531 F.3d 896, 902 (D.C. Cir.), on reh’g in part,

550 F.3d 1176 (D.C. Cir. 2008). That rule, issued to require and guide

SIP revisions, purported to interpret the good neighbor obligation for two

ozone NAAQS. It required certain upwind sources to reduce their NO x

emissions using controls at a cost threshold. Id.; Michigan, 213 F.3d at

669. In 2005, EPA adopted the Clean Air Interstate Rule. That rule was

also issued in advance of SIP submissions and purported to again

determine which sources “contributed significantly” to nonattainment

and to require specific emissions reductions. See North Carolina, 531

F.3d at 903–05.




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      EPA then changed strategies and promulgated the Cross-State Air

Pollution Rule (CSAPR). While CSAPR also determined which sources

had to reduce emissions to fall within a “budget,” it did so after states

failed to submit SIPs. See EME Homer, 572 U.S. at 503 & n.11. EPA

applied a one-percent-of-NAAQS threshold and then determined

required emissions reductions based on cost for any State contributing

more ozone downwind than that. Id. at 500–02. CSAPR simultaneously

promulgated FIPs to meet those required reductions. Id. at 503. States

challenged CSAPR, but not based on the SIPs that they failed to file.3

They instead argued that EPA must promulgate an authoritative

interpretation of the good neighbor obligation before States submit SIPs

because otherwise they could not plan appropriately.                  The Supreme

Court rejected that argument and held that EPA did not need to issue

guidance before disapproving SIPs or give States a second chance. Id. at

508–09.     Further litigation challenged other pieces of CSAPR and

generated the CSAPR Update, Revised CSAPR Update, and others. CI

R06-1 at 9,799.


3Three states submitted SIPs and challenged their disapprovals, see EME Homer,
572 U.S. at 503 n.11, but only one pressed the litigation. It lost because its SIP
entirely failed to address the good neighbor obligation, see Westar Energy v. EPA, 608
Fed. App’x 1, 3 (D.C. Cir. 2015).
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     B.    2015 NAAQS for ozone

     On October 1, 2015, EPA revised the NAAQS for ozone from 75 ppb

to 70 ppb. Nat’l Ambient Air Quality Standards for Ozone, 80 Fed. Reg.

65,292 (Oct. 26, 2015). Attainment at an individual receptor (a scientific

monitoring station that measures ozone concentration) is determined by

taking the average over three years of the fourth-highest daily ozone

value per year. Id. at 65,458.

     The NAAQS revision obligated the States to submit revised SIPs.

Though not required, EPA issued several guidance memoranda in 2018 in

advance of SIP submissions.

     A March 2018 Memorandum sought to “assist states in their efforts

to develop good neighbor SIPs.” CI HQ-3. It laid out the four-step process

EPA had used to “address the requirements of the good neighbor

provision” in its latest CSAPR rulemakings: (1) identify downwind air

quality problems; (2) identify upwind states that contribute enough to

those problems to warrant further review (were “linked” to them); (3)

identify the emissions reductions necessary (if any) to prevent those

upwind state from contributing significantly; and (4) adopt enforceable

measures to achieve those reductions. Id. at 2–3, 5. Yet EPA also


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affirmed that, in “developing their own rules,” States have “flexibility” to

pursue “alternative frameworks” that have “adequate technical

justification” and are consistent with the CAA. Id. at 3. It further noted

that “various analytical approaches may be used to assess each step.” Id.

     The March 2018 Memorandum also included “EPA’s air quality

modeling data” with “newly available contribution modeling results.” Id.

at 1. EPA modeled the 2023 ozone season using data from 2009–2013

(centered around a 2011 base year) with the Comprehensive Air Quality

Model with Extensions (CAMx) v6.40. Id. at 4. Using that modeling,

EPA identified which ozone receptors were potential “nonattainment

receptors” (currently exceeding the NAAQS and modeled to exceed it on

average in 2023) or “maintenance receptors” (modeled to exceed it on

high ozone days in 2023). Id. The memorandum also provided levels of

ozone in ppb that each State was modeled to contribute to each such

receptor. Id. at 5–6.

     In    an    August     2018        Memorandum,           EPA      “provide[d]

recommendations for states using the included analytical information in

developing SIP submissions.” CI HQ-4 at 1. Those recommendations

were focused on screening out small modeled contributions from further


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analysis. After comparing contribution thresholds, EPA concluded that

“it may be reasonable and appropriate for states to use a 1 ppb

contribution threshold” instead of the one percent (0.7 ppb) threshold

used in previous rulemakings. Id. at 2–4.

     EPA also issued an October 2018 Memorandum regarding

flexibilities for designating maintenance monitors. CI HQ-5.

     C.     Louisiana’s SIP

     Louisiana had no trouble complying with the new ozone NAAQS.

EPA agrees that all areas in Louisiana are in attainment. See 40 CFR

§ 81.319.

     Louisiana submitted most elements of its infrastructure SIP on

February 7, 2019, and EPA approved it the following year. See Air Plan

Approval, 85 Fed. Reg. 34,106 (June 3, 2020). Louisiana separately

submitted a SIP on November 12, 2019 addressing CAA Section

7410(a)(2)(D), including the good neighbor provision. CI R06-4.

     Louisiana’s good neighbor SIP used a three-step alternative

framework: (1) identify projected nonattainment or maintenance

monitors; (2) identify which might be impacted by emissions from

Louisiana; and (3) determine if those emissions contribute significantly


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to nonattainment or interfere with maintenance. Id. at 11. Louisiana

characterized these three steps as covering EPA’s first two steps and

noted that EPA’s third and fourth steps are unnecessary without a

significant contribution.   Id. at 12.          Relying on the March 2018

Memorandum, Louisiana took up EPA’s invitation to “states to use [the]

data” in that memorandum and based its approach “partly” on EPA’s

contribution analysis therein. Id. at 5, 12.

     Louisiana performed its own analysis, however, to demonstrate

that Louisiana did not significantly contribute to downwind problems.

To begin, in reliance on the guidance, Louisiana removed from

consideration monitors in Michigan and Wisconsin to which Louisiana

contributed less than 1 ppb (but purportedly more than one percent of

the NAAQS). Id. at 12. Louisiana also explained that one percent is

undetectable by monitors, far smaller than typical errors, and would be

truncated from EPA’s design value data.                 Id.    Then, Louisiana

determined that its contribution should be deemed “significant” only if

there was a “persistent and consistent pattern of contribution on several

days with elevated ozone,” see id.—a reasonable gloss on that ambiguous

statutory term that accounted for the complex definition of attainment.


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Starting with the six remaining nonattainment and maintenance

receptors EPA identified—all near Dallas or Houston, Texas—Louisiana

performed several additional analyses to demonstrate that the

contribution by emissions sources in Louisiana to exceedances at those

receptors was “insignificant.” Id. at 13.

     Most critically, LDEQ performed 99 sets of back trajectories using

the HYSPLIT system. Id. Those trajectories tracked air packets from

the Houston and Dallas receptors backwards from the 8-hour periods in

2016–2018 when ozone exceedances occurred there—they showed where

the air came from that contributed to ozone formation on high ozone

days. Id. Only 28% of the trajectories traveled in or through Louisiana

and only eight percent originated there. Id. Because northern and

central Louisiana is rural farmland, it was likely that only trajectories

crossing through south Louisiana (where there is heavy industry) would

have emissions sources contributing to ozone formation, so Louisiana did

more detailed modeling of trajectories crossing Louisiana. Id. Only 35%

of those crossing Louisiana (approximately ten percent of the total

trajectories) originated in or crossed south Louisiana. Id.




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     Louisiana corroborated these results. They were consistent with

historical wind roses (graphics displaying wind speed and direction over

time at the relevant receptors) and seasonal weather patterns, which

showed that wind to Texas monitors generally came from the Gulf of

Mexico or the north (not from Louisiana), and with earlier HYSPLIT

analyses. Id. at 17–18. The results were also consistent with Louisiana’s

downward trending ozone precursor emissions. Id. at 9. Even EPA’s

2018 modeling showed that Texas contributed far more ozone to

Louisiana’s receptors than vice versa—including 5–6 ppb to the

Shreveport area and 11 ppb to a Calcasieu receptor across the southern

border compared to Louisiana’s contributions of 1–2 ppb to Dallas and

3–4 ppb to Houston. Id. at 14. Louisiana concluded that its actual

contribution to ozone problems in Texas was insignificant. Id.

     EPA issued a completeness finding on November 14, 2019. CI R06-

4 at 326.

     D.     EPA’s proposed disapproval of Louisiana’s SIP

     EPA began approving good neighbor SIPs starting in 2019, and

through 2021, EPA approved 24. CI HQ-20 at 9,362. For other States,

including Louisiana, EPA did not act with dispatch. On February 22,


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2022, over a year after EPA was statutorily required to act, EPA finally

proposed a combined disapproval of Louisiana’s SIP (along with those of

Texas, Oklahoma, and Arkansas—States in EPA Region 6). CI R06-1.

      In the interim, EPA had comprehensively changed its modeling but

given no indication that it would judge the SIPs based on those changes.

EPA    had    created   a   2016-base-year         model,    using    “2016-based

meteorology and boundary conditions,” to create the “2016v1 platform.”

Id. at 9,366. EPA first revealed it on October 30, 2020 in a notice for a

proposed CSAPR-related rulemaking. Id. EPA then switched to a new

version, 7.10, of the CAMx modeling software that had been released in

December 2020. Id. And EPA released “updated emissions inventory

files” in September 21, 2021, when EPA announced that it would

combine all these recent updates into a 2016v2 model. Id. It released

results from that model on January 19, 2022, including new contribution

data—again, without reference to the good neighbor SIPs. Id. It was not

until EPA published its proposed SIP disapproval that EPA revealed

that it was judging those SIPs using 2016v2 modeling. Id.

      EPA’s     post-submission     modeling            substantially     changed

Louisiana’s purported contribution to ozone in Texas.                For instance,


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Louisiana’s contribution to a Brazoria nonattainment receptor near

Houston went from 3.80 ppb under the March 2018 Memorandum to 7.03

ppb. CI R06-1 at 9,811, 9,813. Two receptors fell out but two were added,

each with higher modeled contributions from Louisiana. Id. at 9,811,

9,813. And for two of the three remaining receptors, Louisiana’s modeled

contribution also rose. Id. at 9,813.

     In a sharp reversal from its statement that the States had

“flexibility,” EPA determined to evaluate SIPs with a “nationally

consistent approach,” including its four-step framework and a

“consistent set of policy judgments.”          Id. at 9,801.    It declared any

“deviation” from that “must be substantially justified and have a well-

documented technical basis.” Id.

     When it reviewed Louisiana’s SIP, EPA first criticized Louisiana

for adopting a 1 ppb threshold to determine which downwind receptors

were “linked” to Louisiana based on the August 2018 Memorandum. Id.

at 9,812. EPA’s thorough analysis in that memorandum (showing that

a 1 ppb threshold captured similar contributions as a one percent

threshold) did not, to EPA in 2022, provide a “compelling basis to move”

the threshold. Id. at 9,813. EPA also raised “policy consistency and


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practical implementation concerns” with a 1 ppb threshold, including

consistency with prior FIP rulemakings and equity between states. Id.

at 9,813.    Regarding Louisiana’s specific arguments, EPA simply

“disagree[d]” with criticisms of the one-percent threshold, id. at 9,815–

16, notwithstanding EPA’s own prior statements. Because Louisiana

had linkages greater than 1 ppb, EPA stated that use of the alternative

threshold would not “alter” EPA’s disapproval. Id. at 9,812.

     EPA then proceeded straight to its step three, where it expected a

multifactor analysis, including cost and emissions controls. Id. at 9,814.

EPA did not consider Louisiana’s framework, where its work

interrogating the modeled linkages was set before EPA’s step three.

Instead, because Louisiana did not perform EPA’s full step three, EPA

determined to disapprove the SIP. Id.

     Only then did EPA consider Louisiana’s arguments, and only at a

general level, while also faulting Louisiana for not explaining its choices

to EPA’s satisfaction. EPA declared that its 2016v2 CAMx modeling—

“the most sophisticated tool available”—had proven a linkage and that

Louisiana could not rebut it with any work. Id. at 9,815. For instance,

after faulting Louisiana for not explaining its “persistent and consistent”


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standard more, EPA asserted that EPA’s modeling “accounts for

precisely these concerns.” Id. at 9,814. It asserted that Louisiana’s

HYSPLIT analysis could not, by contrast, determine the quantitative

contribution to ozone formation.        Id. 9,815.      And it suggested that

Louisiana had not considered that areas near the trajectories could

contribute. Id. EPA also criticized Louisiana’s wind rose and seasonal

weather analysis as not accounting for wind variations, altitude, or high

ozone days. Id.

     Louisiana     submitted       comments        regarding     the     proposed

disapproval. CI R06-31. Louisiana objected that EPA “unjustly and

prejudicially based the disapproval” on new modeling “performed after

the SIP deadline.”     Id. at 2.    That modeling contained “substantial

alterations to model input parameters” and “refinements” that Louisiana

could not reasonably review and an “unproven technique.” Id. Louisiana

also explained that the modeling yielded anomalous results, like higher

ozone contributions even as precursors decreased. Id.

     E.    EPA final action disapproving Louisiana’s SIP

     On February 13, 2023, EPA published its final disapproval of

Louisiana’s SIP. CI HQ-20. In the interim year, EPA had further


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revised its modeling to 2016v3, which included updates to the

“inventories and model design” and “additional updates” based on

comments. Id at 9,339. Some data and assumptions were from 2020

and 2021.    See CI HQ-29 at 164, 183–84.                EPA also used 2022

measurements to make determinations. CI HQ-20 at 9,350.

     The new modeling further increased Louisiana’s modeled ozone

contributions for four of the six receptors previously at issue and

designated a new Galveston receptor as nonattainment, resulting in

Louisiana’s highest contribution of 9.51 ppb. CI HQ-70. EPA also

created a new category—never discussed before—of “violating-monitor”

receptors with 2022 measurements that violated the NAAQS but 2023

projected values that did not. Id. at 9,349. Louisiana was linked to 10,

including one near San Antonio. CI HQ-85 at C-4. EPA stated that it

was using these only on a “confirmatory basis,” though it deferred final

action on two states based on them. CI HQ-20 at 9,349. Otherwise,

EPA summarized its prior analysis to support final disapproval, but it

newly characterized each of Louisiana’s analyses as having unspecified

“technical flaws.” Id. at 9,356.




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III. This litigation

     The State of Louisiana and LDEQ filed a petition for review on

March 20, 2023 and immediately moved for a stay pending appeal.

Dkt. 63, 112. A motions panel of this Court granted that motion on

May 1 and denied EPA’s motion to transfer. Dkt. 269 (“Stay Order”).

The order held that petitioners were likely to succeed on the merits

because they had made “a strong showing that the EPA acted

unlawfully by considering factors listed nowhere in the CAA” and “that

the EPA arbitrarily and capriciously based its Final SIP Denial in part

on information only available after Texas and Louisiana had submitted

their SIPs.”   Id. at 14.   By “giving undue weight to non-statutory

factors”—including its four-step framework and one percent threshold,

with any deviation needing to be “substantially justified”—EPA had

gone beyond its “ministerial” role, inverted “the CAA’s cooperative

federalism framework,” and failed to properly defer to the States. Id.

at 14–17. EPA’s decision to use new modeling data years after the SIP

submission also failed to account for Louisiana’s reliance interests and

the CAA’s cooperative federalism. Id. at 19–21.




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                        SUMMARY OF ARGUMENT

       The entire approach EPA adopted for evaluating Louisiana’s good

neighbor SIP demonstrated fundamental misconceptions about the

respective roles Congress has assigned. Unlike in prior rulemakings,

EPA did not adopt any purportedly authoritative interpretation of the

key statutory terms.      When EPA imported its framework from FIP

rulemakings and imposed that as a default rule, EPA improperly failed

to defer to Louisiana’s reasonable choices applying the CAA.                      By

imposing a heightened burden of demonstration to deviate from EPA’s

preferred framework, EPA also relied on factors beyond those in the

CAA.    These unlawful impositions predetermined EPA’s rejection of

Louisiana’s work, including Louisiana’s arguments for an alternative

contribution threshold, an alternative framework, and a reasonable gloss

on “significant contribution.”

       Similarly, EPA’s modeling revisions also transgressed the CAA’s

cooperative federalism. By delaying long past the statutory deadline

while revising modeling and gathering data from long after Louisiana’s

SIP was submitted, EPA again ignored its limited role. EPA’s approach

robbed Louisiana of the chance to consider what demonstration was


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appropriate. And it practically gave EPA a veto over Louisiana’s work,

even though the CAA provides the States primary discretion.

     EPA’s approach also disregarded the reliance interests created by

EPA’s earlier guidance. Louisiana justifiably relied on EPA’s promise

that States had flexibility and could use alternative frameworks. But

EPA used that against Louisiana when EPA rigidly imposed its own

framework and punished Louisiana for failing to adhere. The revised

modeling also undermined Louisiana’s reliance on EPA’s earlier

contribution data to structure Louisiana’s analysis. And in rejecting all

arguments for an alternative threshold, EPA improperly failed to

recognize that it had changed positions and to credit the weight

Louisiana had placed upon that guidance.

     Moreover, the justification for EPA’s “nationally consistent”

framework was undermined by inconsistent actions toward other States.

     EPA also wrongfully rejected Louisiana’s air quality analysis.

While it first provided only general criticisms of the tools Louisiana used,

EPA later mischaracterized Louisiana’s work as having “technical

flaws.” Even EPA’s general criticisms were contradicted by EPA’s own

work—EPA performed the same analysis as Louisiana and lauded its


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utility.   Finally, EPA’s critique of the substance of Louisiana’s

conclusions falls short because EPA never engaged with Louisiana’s

central argument—that the air causing problems in Texas almost never

came from areas with emissions sources in Louisiana.

      Accordingly, EPA’s final action was arbitrary and capricious and

beyond its authority. It should be set aside.

                        STANDARD OF REVIEW

      When reviewing EPA’s disapproval of a SIP under the CAA, the

Court applies the Administrative Procedure Act and must hold unlawful

and set aside agency action that is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law,” or “in excess” of

statutory authority. Luminant Generation Co., 675 F.3d at 925 (quoting

5 U.S.C. § 706(2)(A), (C)); see also 42 U.S.C. 7607(d)(9). An agency

action is arbitrary and capricious “if the agency has relied on factors

which Congress has not intended it to consider, entirely failed to consider

an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so

implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm


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Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). A court “must set aside any

action premised on reasoning that fails to account for ‘relevant factors’

or evinces ‘a clear error of judgment.’” Univ. of Texas M.D. Anderson

Cancer Ctr. v. HHS, 985 F.3d 472, 475 (5th Cir. 2021) (quoting Marsh v.

Or. Nat. Res. Council, 490 U.S. 360, 378 (1989)); see also Michigan v.

EPA, 576 U.S. 743, 750 (2015). The action must be evaluated solely “on

the basis articulated by the agency itself.” State Farm, 463 U.S. at 50.

                              ARGUMENT

     The CAA’s good neighbor provision is one small piece of a larger set

of requirements for “infrastructure” SIPs. Here, it requires only that

Louisiana’s SIP contain “adequate provisions” prohibiting any “source”

or “emissions activity” from emitting precursors in amounts that would

“contribute significantly to nonattainment in, or interfere with

maintenance by,” other States with respect to the 2015 ozone NAAQS.

42 U.S.C. § 7410(a)(2)(D)(i)(I). If the other elements of an infrastructure

SIP, such as the enforceable emissions limitations in Section

7410(a)(2)(A), already perform that function, then the infrastructure SIP

contains “adequate provisions” for good neighbor purposes. The good

neighbor provision’s limited nature extends to its key terms—Congress


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left most undefined. And unlike other SIP provisions elsewhere in the

CAA, the good neighbor provision does not require any specific

demonstration of compliance by States and does not authorize EPA to

require any. Compare id. with 42 U.S.C. § 7511a (requiring various

“demonstration[s]” for attainment including “based on photochemical

grid modeling or any other analytical method determined by [EPA]”).

     EPA has repeatedly asserted that the good neighbor provision

needs interpretation “through rulemaking, or recommendations through

guidance,” to give meaning to its terms, such as what constitutes

“significant contribution” for a specific NAAQS. EME Homer, 572 U.S.

at 541 (2014) (Scalia, J., dissenting) (quoting numerous EPA actions).

EPA has purported to authoritatively interpret the States’ obligations

under the good neighbor provision for past NAAQS while issuing FIPs.

The Supreme Court upheld some of EPA’s interpretations in that

context, such as considering cost alongside control strategies, as

permissible choices from ambiguity. See id. at 513–20. Yet here EPA

took a different path. In the period for infrastructure SIP submissions,

EPA issued only guidance stressing flexibility in the approaches that

States could take for their good neighbor SIPs.


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      At evaluation time, EPA applied only its four-step framework and

“a consistent set of policy judgments” drawn from prior FIP-related

rulemakings. CI HQ-20 at 9,339. But EPA pointedly disavowed that it

was authoritatively interpreting any part of the CAA, and it maintained

that States continue to have flexibility.4 See CI HQ-83 at 60–61. EPA

thus has no claim to this Court’s deference. See Luminant Generation

Co., 675 F.3d at 927–28 (holding that without claiming to authoritatively

interpret statutory provision, EPA does not receive Chevron deference5).

      EPA’s action here is thus distinct from its prior “rulemakings.”

Although EPA approached the SIP disapproval as a “rulemaking” and

called its final disapproval a “rule,” that is a misconception that bleeds

into EPA’s evaluation. A “rule” must have a “future effect.” 5 U.S.C.

§ 551(4); see Bowen, 488 U.S. at 208. The CAA called for EPA simply to

approve or disapprove Louisiana’s SIP as submitted, not make its own


4If EPA makes such an argument, that would raise serious questions, including about
the retroactive effect of judging a SIP submitted in the past based on new criteria and
then harming Louisiana’s authority by triggering a FIP. See Bowen v. Georgetown
Univ. Hosp., 488 U.S. 204, 208–09 (1988) (holding that retroactive regulations require
explicit congressional authorization). And there are open questions regarding what
terms EPA can interpret even in advance of SIP submissions given the CAA’s
“cooperative federalism.”
5 Chevron has been called into doubt, and the Supreme Court recently granted

certiorari on whether to overrule it. Loper Bright Enters. v. Raimondo, No. 22-451.
Louisiana accordingly preserves the question of whether EPA is entitled to deference
in any respect.
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rule. The CAA refers to this generically as an “other final action” as

opposed to a “rulemaking.”      See 42 U.S.C. § 7607(b)(1), (d)(1).             If

approved, a SIP becomes enforceable federal law. BCCA Appeal Grp.,

355 F.3d at 826. If that SIP becomes obsolete, EPA may call for revisions.

And if EPA disapproves a SIP, it may then make the law through a FIP.

But when reviewing a SIP, EPA has a highly constrained role precisely

because it is not making its own rule.

I.   EPA’S GENERAL APPROACH TO REVIEWING LOUISIANA’S SIP WAS
     ARBITRARY AND CAPRICIOUS AND BEYOND ITS AUTHORITY.


     Despite the limited role assigned to it by Congress, EPA acted as if

it were making its own law. In reviewing Louisiana’s SIP, EPA imposed

its own policy preferences, demanded extra-statutory demonstrations,

and used its unlawful delay to ensure its complete discretion over

approval. But EPA had previously, and properly, assured States that

they would have discretion.       EPA’s imperious approach not only

transgressed the CAA but also general administrative law principles.




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     A.     The criteria EPA used to consider Louisiana’s SIP
            disregarded the structure of the CAA.

            i.   The framework and extra-statutory burdens of
                 demonstration used to disapprove Louisiana’s
                 SIP were unlawful.

     In its review of Louisiana’s SIP, EPA exceeded its authority by

requiring of Louisiana far more than the CAA requires. Louisiana’s SIP

should have been considered on its own terms and found more than

“adequate.” Instead, EPA rigidly imposed its policy preferences and

heavy burdens of demonstration, which are foreign to the CAA. EPA’s

failure to appropriately defer to Louisiana’s reasonable application of the

CAA predetermined disapproval.

                 a.    EPA wrongfully transplanted its framework from
                       a context where it had discretion and rulemaking
                       power to one where it had none.

     EPA ostensibly recognized that States have room to adopt an

approach to the good neighbor provision that makes sense for that State.

In   its   guidance,   EPA    acknowledged             that   (without     binding

interpretations) States could “develop[] their own rules” and “have

flexibility” to use “EPA’s analytical approach or somewhat different

analytical approaches within these steps[] or alternative frameworks.”

CI HQ-3 at 3. Whatever approach a State chose needed only to have

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“adequate” technical justification and be consistent with the CAA, id.—

mirroring the standard of the good neighbor provision. All this was

consistent with States having inherent discretion. There was certainly

no hint that EPA could require additional justification to deviate from

its own preferences.

     When it came time to review the SIPs, EPA paid lip service to

“flexibilities” but simultaneously imposed a heavy, effectively dispositive

burden on any State relying on them. EPA decreed that it would apply

its 4-step framework and policy judgments and that any “deviation from

[that] nationally consistent approach to ozone transport must be

substantially justified and have a well-documented technical basis that

is consistent with relevant case law.”          CI R06-1 at 9,801 (emphasis

added); CI HQ-20 at 9,340. In other words, a SIP containing even an

independently “adequate” showing of its compliance with the good

neighbor provision would be insufficient if it did not also follow EPA’s

framework. A failure of that demonstration would prove dispositive for

SIP disapproval.

     EPA’s approach, with presumptions and burdens of demonstration

beyond those required by the CAA, was unlawful.                   EPA’s general


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process—importing its framework from a context in which EPA had

discretion, see EME Homer, 572 U.S. at 503, to one in which it had none

and making its policy preferences the presumptive rule (requiring

substantial    justification   to   diverge        therefrom)—“reflect[ed]      a

misapprehension by the EPA of its authorized role in the SIP-approval

process,” where “EPA does not possess any discretionary authority,” only

the States do. See Luminant Generation Co., 675 F.3d at 928 n.8. Unlike

in prior rulemakings, EPA has no basis to claim the deference required

to impose such preferences. Even under arbitrary and capricious review,

EPA must still defer to Louisiana’s reasonable application of the minimal

statutory factors in the good neighbor provision. See Texas 2016, 829

F.3d at 428.

     Other provisions of the CAA support this conclusion. Congress

expressly granted EPA discretion in reviewing and rejecting a State’s

determination of its compliance with a NAAQS for some state

submissions, but not here. See Texas v. EPA, 983 F.3d 826, 837 (5th Cir.

2020) (“Texas 2020”) (holding that CAA provision allowing EPA to make

changes EPA “deems necessary” to state attainment designations

constitutes delegation of discretionary authority); Catawba Cnty. v EPA,


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571 F.3d 20, 40 (D.C. Cir. 2009) (noting that absent EPA finding of

necessity, EPA must give state designations substantive deference even

though they concern compliance with federal standard).

     At the same time, the factors in EPA’s framework and all the

burdens of demonstration EPA required to use “flexibilities” are absent

from the CAA. See Stay Order at 15; Texas 2020, 983 F.3d at 839 (noting

“one-percent threshold does not appear in the text”). Nothing in the text

necessitates a “nationally consistent” framework, much less the specific

one EPA imposed. (If anything, interstate ozone transport is a regional

concern.   See 42 U.S.C. § 7506a.)          And the good neighbor provision

imposes no burdens of demonstration at all. This Court has repeatedly

held that EPA may not add such extra-statutory requirements for

approval of SIPs and similar state submissions—even in a purported

rulemaking. See Texas 2016, 829 F.3d at 428; Luminant Generation Co.,

675 F.3d at 929 (“[T]he structure of the CAA militates against reading

an extra-statutory requirement into the Act’s limitations on state

discretion.”); Texas 2012, 690 F.3d at 679 (holding EPA’s imposition of

its “preference” over “standards Congress provided . . . disturbs the

cooperative federalism that the CAA envisions”). This is doubly true


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given that Congress has authorized specific demonstrations for other

portions of SIPs in the CAA. See Luminant Generation Co., 675 F.3d at

929 (noting that inclusion of requirement in some parts of CAA “is strong

evidence that the requirement does not apply” where it is absent).

      EPA’s approach thus exceeded its authority and was arbitrary and

capricious. See State Farm, 463 U.S. at 43 (noting action is “arbitrary

and capricious” if agency “has relied on factors which Congress has not

intended it to consider”); Luminant Generation Co., 675 F.3d at 926.

                   b.     EPA’s presumptive framework and extra-statutory
                          burdens and considerations predetermined the
                          outcome.

      EPA’s rigid adherence to its framework and its imposition of a

heavy burden of justification and other non-statutory considerations

prejudiced Louisiana throughout EPA’s review.

      At EPA’s step two,6 EPA created multiple novel burdens of

demonstration. At its corresponding step two, Louisiana had relied on

EPA’s guidance and LDEQ’s analysis to conclude that a 1 ppb threshold

was appropriate. CI R06-4 at 12. EPA rejected all such conclusions


6 Although Louisiana provisionally used the receptors identified in EPA’s March 2018
Memorandum, it did not accept the validity of EPA’s modeling by so doing. EPA’s
late creation of “violating-monitor” receptors further attests to EPA’s willingness to
create extra-statutory hurdles, even at step one.
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based on its general burden of demonstration—asserting that no State

provided “sufficient information and analysis”—but also because it

required them (for the first time in the proposed disapproval) to

demonstrate why 1 ppb was more appropriate for that particular State.

CI R06-1 at 9,812; see CI HQ-20 at 9,374. Indeed, EPA even repudiated

the analysis in its own August 2018 Memorandum for failing to meet

EPA’s later burden of demonstration.              EPA determined that the

memorandum did not provide a “compelling basis to move” the one-

percent threshold. CI R06-1 at 9,813; see CI HQ-20 at 9,374. There was

no need to “move” a non-authoritative threshold; only a threshold’s

independent consistency with the CAA mattered. But EPA also required

much more justification to “move” it than EPA gave when originally

adopting it in rulemaking. See CSAPR, 76 Fed. Reg. 48,208, 48,236–38

(Aug. 8, 2011).

     EPA also further relied on non-statutory “policy consistency and

practical implementation concerns,” including consistency with prior

FIP rulemakings and an equity concern that some states could avoid

being forced to proceed to EPA’s full step three analysis. CI R06-1 at

9,813; CI HQ-20 at 9,374. Its response to Louisiana’s specific arguments


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was simply that EPA “disagree[d]” with criticisms of the current

threshold. CI R06-1 at 9,815–9,816; CI HQ-20 at 9,356. That falls far

short of resolving that Louisiana’s threshold violated the CAA.

      Although EPA asserted that none of its threshold discussion

mattered because Louisiana still had other “linkages,” CI R06-1 at

9,812–13, it did matter. First, EPA’s treatment of the threshold issue

illustrates its general posture toward the SIP and the extra-statutory

burdens and considerations it imposed. Second, EPA repeated EPA’s

disagreement in the final action, and it should be addressed lest EPA

attempt to rely on it.7 Third, EPA’s approach to the threshold issue

prejudiced its evaluation of the next step.

      The SIP disapproval hinges on Louisiana’s not having performed

EPA’s complete step three, with an emissions control and cost analysis.8

But this conclusion was predetermined by EPA’s rigid adherence to its




7 EPA could attempt to rely on the threshold to again fault Louisiana on remand.
And, as discuss infra Section I.C, EPA has withheld approval from some States even
when all downwind receptors dropped below the threshold.
8 See CI R06-1 at 9,814 (“LDEQ was required to analyze emissions from the sources

and other emissions activity from within Louisiana to determine whether its
contributions were significant, and we propose to disapprove its submission because
LDEQ did not do so.”); CI HQ-20 at 9,356 (“Louisiana did not conduct an adequate
Step 3 analysis. The State included an insufficient evaluation of additional emissions
control opportunities in its SIP submission.”).
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framework and its indifference to Louisiana’s reasonable choices.

Louisiana characterized its third step as corresponding to EPA’s

second—Louisiana checked whether the modeled “linkages” were correct

before considering emissions controls and costs. This clashed with EPA’s

framework. There, a state “linked” at EPA’s step two by modeling “must

provide a well-documented evaluation . . . by preparing a multifactor

assessment that evaluates additional available control opportunities.”

Id. at 9,803 (emphasis added). EPA followed through with this blinkered

approach. In evaluating Louisiana’s SIP, after discussing thresholds,

EPA provided only one paragraph of analysis for its steps one and two.

Id. at 9,813. It then concluded that based on “the information” (not

analysis) submitted by Louisiana and EPA’s “most recent modeling,”

Louisiana was “linked at Steps 1 and 2 and ha[d] an obligation to assess

potential emissions reductions from sources or other emissions activity

at [EPA’s] Step 3.”     Id.   This sequence makes clear that before

considering Louisiana’s work, EPA had already reached its conclusion.

     EPA’s approach to step three also demonstrated heavy prejudice

against any alternative to its full multifactor test. In general comments

about that step, EPA declared that it “disagree[d] that it [was] obligated


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to defer to states’ choices in the development of good neighbor SIP

submissions.”   CI HQ-20 at 9,375.            EPA did not, in fact, respect

Louisiana’s choices. From the outset of EPA’s step three evaluation,

before considering Louisiana’s arguments rebutting EPA’s modeled

contribution, EPA had already described the step as its full multifactor

evaluation. CI R06-1 at 9,814. “To effectively evaluate which emissions”

are significant, EPA directed that “states generally should prepare an

accounting of sources and other emissions activity . . . and assess

potential, additional emissions reduction opportunities and resulting

downwind air quality improvements.” Id. EPA also noted that it had

“consistently applied this approach” in its prior rulemakings and that

the approach had been “upheld by the Supreme Court.” Id. But EPA

failed to note the different context and that its interpretation was only

one of many permissible. See EME Homer, 572 U.S. at 514–20. And it

failed to recognize that the “CAA does not make the [multifactor test] the

EPA desires a standard for disapproving a SIP.” Texas 2012, 690 F.3d

at 685. EPA was resolved not to give Louisiana appropriate discretion.

     When EPA finally considered Louisiana’s arguments, it followed

the same pattern.       No statute or regulation defines significant


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contribution. So Louisiana had a gloss on “significance” as a “‘consistent

and persistent’ pattern of contribution on several days with elevated

ozone.” CI R06-4 at 13. This is a reasonable interpretation stemming

from the NAAQS, where a nonattainment finding takes into

consideration consistently high ozone values that persist for several

years. CI R06-1 at 9,814. And the focus on the dynamics of ozone

contribution (before considering cost) is consistent with the text. See

EME Homer, 572 U.S. at 514–20. EPA responded that this gloss did not

“comport[] with CAA requirements.” CI R06-1 at 9,814. Yet it did not

explain how. In fact, EPA instead based its disapproval on Louisiana’s

not explaining that phrase to EPA’s satisfaction—again imposing a

heavy burden of demonstration. EPA concluded that it “did not agree”

that Louisiana’s explanation “suffices as an explanation” for not

proceeding to EPA’s step three. Id. at 9,814. EPA even implied that,

because Louisiana provisionally used EPA’s modeling to identify

receptors, it could not contest that a “consistent and persistent pattern”

occurred. See id. at 9,815.

     EPA’s explanation for rejecting Louisiana’s interpretation was

particularly arbitrary because EPA essentially agreed with that


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interpretation only a few paragraphs later. EPA asserted not only that

its modeling “establishe[d] that there is a consistent and persistent

pattern of contribution” but also that “EPA’s methodology . . . accounts

for precisely these concerns” because both the model and the NAAQS

consider consistently high values over several years. Id. at 9,814–15.

Either EPA’s methodology accounts “precisely” for considerations

inconsistent with the CAA, or EPA wrongfully rejected Louisiana’s

interpretation. Either is a “clear error of judgment,” Univ. of Texas, 985

F.3d at 475.    And either way, EPA improperly failed to defer to

Louisiana’s reasonable interpretation and application of the statutory

standard. See Texas 2016, 829 F.3d at 428.

     While these examples more than suffice to demonstrate that EPA’s

approach applied unlawful presumptions and burdens of demonstration

without appropriate deference, there are many more. Those include

EPA’s specific errors in rejecting Louisiana’s technical analysis

(discussed infra, Section II) and EPA’s failure to consider the collective

sufficiency of Louisiana’s analysis (rather than nitpicking each element).

And these errors many times over were dispositive in ensuring that EPA

disapproved Louisiana’s SIP.


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                 ii.   EPA’s continual revision of its modeling
                       infringed on Louisiana’s discretion under
                       the CAA.

     EPA’s approach to the key evidence it used to disapprove

Louisiana’s SIP was also arbitrary and capricious. By incorporating data

that did not exist at the time of the SIP submission and using new

modeling to judge the validity of Louisiana’s conclusions, EPA

disregarded the structure of the CAA.            Its disapproval is therefore

“premised on reasoning that fails to account for ‘relevant factors,’” Univ.

of Texas, 985 F.3d at 475.

                       a.    EPA’s changes in modeling were significant.

     EPA’s wholesale revision of its modeling had real effects. EPA

admitted as much—it acknowledged that using data and modeling

available to States at the time of their SIP submissions “would produce

a different result in [EPA’s] forward-looking analysis of 2023.” CI HQ-

20 at 9,366. Its final action disapproving Louisiana’s SIP relied on the

2016v3 modeling platform specifically, id. at 9,339, and its disapproval

must be set aside if it should not have used that modeling. See DHS v.

Regents of the Univ. of Ca., 140 S. Ct. 1891, 1907 (2020) (noting that it




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is a “foundational principle of administrative law” that judicial review

of agency action is limited to “the grounds that the agency invoked”).

     The revisions were also practically significant.                The 2016v2

modeling substantially increased the modeled contribution for most

receptors that continued to be relevant, and the 2016v3 modeling did

so again. See CI R06-1 at 9,811–14; CI HQ-70. But the revisions also

changed which receptors “linked” to Louisiana were nonattainment or

maintenance receptors, and the new ones had significantly higher

modeled contributions. See CI R06-1 at 9,811–14; CI HQ-70. The

effects also combined. The receptor in Brazoria went from a 3.80 ppb

modeled contribution in the March 2018 Memorandum to 7.03 ppb in the

2016v2 modeling.       CI-HQ 3 at C-2; CI HQ-12.             But then a nearby

Galveston receptor was added for 2016v3, bringing the highest

contribution in the Brazoria-Galveston area to 9.51 ppb. CI HQ-70.

With EPA’s creation of “violating-monitor” receptors in the final action,

Louisiana became linked to ten of those, including one in a new area,

San Antonio. CI HQ-20 at 9,356; CI HQ-85 at C-4.




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                       b.   These changes              disregarded     the   CAA’s
                            structure.

     EPA’s primary justification for its comprehensive modeling

revisions finds no basis in the CAA. Rather, it is a general argument

about rulemaking: EPA should not be “prohibited from taking

rulemaking action using the best information available to it at the time

it takes such action.” Id. This justification is “premised on reasoning

that fails to account for ‘relevant factors’”—the CAA—and indeed

“relie[s] on factors which Congress has not intended [EPA] to consider.”

See State Farm, 463 U.S. at 43; Univ. of Texas, 985 F.3d at 475.

     To begin, EPA misconceives the nature of its action. This is not a

“rulemaking” where EPA has discretion to create law. The impetus for

using new modeling and the latest data thus rests on a critical

misunderstanding about EPA’s role.

     EPA’s approach to modeling also ignores the terms of the CAA.

Under those, it had 12 months, until November 14, 2020, to render a

final (not merely proposed) decision. See 42 U.S.C. § 7410(k)(2). Almost

every relevant development in EPA’s modeling occurred after that

deadline, and much long after. EPA did not begin creating 2016-based

modeling until after Louisiana submitted its SIP. See CI HQ-20 at 9,365.

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It released only a draft model with related inputs on October 30, 2020 in

the separate CSAPR rulemakings.              Id. at 9,366.      Everything else

happened after the one-year deadline, including EPA’s adoption of new

software (first released in December 2020), its creation and release of

updated emissions inventory files (in 2021), its creation of the 2016v2

and then 2016v3 modeling platforms, and its incorporation of data from

as late as 2021 and 2022. Id. at 9,350, 9,366; CI HQ-29 at 164–64, 183–

84.

      The CAA does not allow EPA to do this. The timing provision

further evinces Congress’s clear intent that EPA’s role in evaluating

whether SIPs are “adequate” should be limited. While the CAA provides

each State three years after a new NAAQS to develop an infrastructure

SIP, EPA gets only one to review. And it must review all States’ entire

infrastructure SIPs at nearly the same time.              Practically speaking,

Congress cabined EPA’s ability to perform new modeling. And Congress

certainly denied EPA the ability to delay its decision making for years

while continuously collecting new information and revising its work. See

Stay Order at 21–22. That inference springs even from the time provided

for review. See Env’t Integrity Project v. EPA, 969 F.3d 529, 544 (5th Cir.


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2020) (finding that shorter timeline given for reviewing small permit for

single source was “inconsistent with an in-depth and searching review”).

        EPA’s explanation for its delay further underscores how

unnecessary its actions were. EPA essentially asserts that it was very

busy after two 2019 D.C. Circuit cases, until 2021. CI HQ-20 at 9,365.

The reasonable course, in accordance with the CAA, was to use the data

and modeling it already had to efficiently and timely evaluate SIPs. It

did exactly that in approving many SIPs starting in 2018. Id. at 9,365

n.286. But for SIPs EPA disapproved, it continued to seek new data and

apply multiple rounds of modeling long after the statutory deadline. EPA

then disapproved Louisiana’s SIP two years after EPA finished being

busy and long after it could have given states a chance to update their

SIPs.

        EPA’s major modeling changes robbed Louisiana of its ability to

consider, in the first instance, what arguments and analysis were

appropriate to address the evidence bearing on whether its SIP was

“adequate.” Without that chance, it can hardly be said that Louisiana

was “driv[ing] the regulatory process,” Texas 2016, 829 F.3d at 411.

Louisiana’s back trajectory analysis soundly rebutted EPA’s later


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modeling. But EPA’s approach meant Louisiana could not consider

whether additional work was useful to make its public case against the

larger and different contributions modeled with later-available data

and software.

     The changed modeling also caused EPA to further disregard

points Louisiana made. The SIP argued that a significant contribution

was implausible because even EPA’s model showed that most ozone

comes from Texas into Louisiana, not vice versa.                     While this

relationship remained, it was muddied in part by the Calcasieu

receptor Louisiana cited dropping out from the 2016v2 modeling

(because Louisiana was in attainment). See CI HQ-12. So EPA never

bothered to address the point.

     The    creation   of   the   violating-monitor          receptors    further

sandbagged Louisiana.       EPA never explained how those precisely

would or did affect EPA’s analysis.

     By continuing to develop criteria, data, and analysis long past its

statutory deadline and far beyond Louisiana’s ability to do the same, EPA

transgressed its limited role, ignored specific statutory limitations, and

acted without authority.    If EPA can blow past statutory deadlines,


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prepare modeling with data and assumptions that did not exist when

States prepared their SIPs, and then judge those SIPs with that new

work, EPA can arrogate arbitrary discretion to reject States’ plans and

substitute its own federal plan.              EPA could always add some

consideration that a State did not address because the data simply did

not exist. See Stay Order at 21–22. EPA has already recognized the

impossible burden that requiring States to continually update their

modeling would impose. See Sierra Club v. EPA, 356 F.3d 296, 308 (D.C.

Cir. 2004). There would be no practical way for Louisiana to assure that

its SIP could be approved because any demonstration Louisiana made

could be vetoed by later work. This boundless discretion is the opposite

of the limited, deferential role Congress provided to EPA in the CAA. See,

e.g., Texas 2016, 829 F.3d at 428.

     B.    EPA improperly disregarded Louisiana’s reliance
           interests.

     While EPA’s approach contravened the CAA’s structure, it was also

unlawful because EPA issued contrary guidance beforehand. An agency

must give notice of conduct the agency “prohibits or requires” and cannot

“surprise” a party by penalizing it for “good-faith reliance” on the

agency’s prior positions. Christopher v. Smithkline Beecham Corp., 567

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U.S. 142, 156–57 (2012). When it changes position, the agency must first

“display awareness that it is changing position.” Encino Motorcars, LLC

v. Navarro, 579 U.S. 211, 222 (2016) (quoting FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2009)). Given that Louisiana relied in

good faith on the 2018 guidance memoranda, EPA was required to

acknowledge its change and “assess whether there were reliance

interests, determine whether they were significant, and weigh any such

interests against competing policy concerns.” Regents, 140 S. Ct. at 1915.

The SIP disapproval was again arbitrary and capricious because EPA

did not do so.

           i.    Louisiana appropriately relied on EPA’s 2018
                 guidance memoranda when creating its SIP.

     Louisiana’s route to creating its SIP confirms reliance on EPA’s

2018 guidance documents. The SIP explained that it considered EPA’s

March 2018 Memorandum, including its “preliminary list of potential

flexibilities in analytical approaches,” as well as the August and October

2018 Memoranda. CI R06-4 at 5–6. Louisiana understood that these

were published “to assist states in constructing approvable SIPs.” Id. at

5 (emphasis added).



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     The March 2018 Memorandum assumed that States would be

“developing their own rules”—not just demonstrations. CI HQ-3 at 1

(emphasis added).      While doing so, States had “flexibility” to use

“alternative frameworks” provided that those frameworks independently

had “adequate technical justification” and were “consistent with the

requirements of the CAA.” Id. at 3. The memorandum betrayed no hint

of later requirements to justify deviation from EPA’s four-step

framework or consider extra-statutory “policy concerns.” Louisiana

adopted its alternative three-step framework in reliance on the standard

articulated in the memorandum. See CI R06-4 at 11. And it accordingly

gave technical and CAA-based justifications for its approach but not for

why it diverged from EPA’s framework. See id. at 11–12.

     Louisiana also relied on the March 2018 ozone level and

contribution data. It noted that “EPA invited states to use this data to

develop SIPs” and that LDEQ’s approach was “based partly” on those

metrics. Id. at 5, 11. Louisiana used that data to determine which

receptors were potentially relevant for back trajectories (e.g., not San

Antonio, because violating-monitor receptors did not exist) and to decide

how to analyze its modeled contribution to those receptors. Id. at 13.


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Louisiana’s conclusion that its back trajectory analysis was reasonable

was corroborated by the data showing that Texas contributed far more

to Louisiana than vice versa. See id. at 13–14.

     Additionally, Louisiana adopted the 1 ppb alternative threshold in

reliance on the 2018 guidance memoranda and added its own technical

arguments. See id. at 11. But it did not address points, such as a state-

specific justification, that the memoranda nowhere required but EPA

later demanded.

             ii.   EPA failed to consider Louisiana’s important
                   reliance interests in EPA’s earlier guidance.

     EPA does not dispute that Louisiana relied on these memoranda.

Rather, EPA largely argues that Louisiana should not have, or that EPA

did not change positions, so it did not need to consider reliance. But a

comparison of the memoranda with EPA’s actions discredits both

positions.

     The March 2018 Memorandum declared itself guidance: “EPA’s

goal in providing this information is to assist states’ efforts to develop”

their SIPs. CI HQ-3 at 2. Rather than rebut that, EPA argued only that

Appendix A (listing potential “flexibilities”) was not “guidance” but

simply “intended to generate further discussion.” CI HQ-20 at 9,369.

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This misses the mark. Regardless of whether Appendix A was guidance

(and it was9), EPA’s key assurances—including that States could develop

their own “rules” and had “flexibility” to use “alternative frameworks”—

appeared in the main body of the document. CI HQ-3 at 3. That is also

where the minimal requirements for alternative frameworks appeared,

absent mention of later-required demonstrations or extra-statutory

considerations. Id. EPA lacks an answer for why that did not generate

reliance it should have considered.

      The data in the March 2018 memorandum came with the same

invitation to States.      EPA’s exhaustive description of its modeling

betrayed no hint that everything might be redone after SIP submission.

Indeed, the memorandum specifically contemplates State “reliance on

the 2023 modeling data.” CI HQ-3 at 6. EPA also gave no answer

regarding reliance on the data.

      Furthermore, EPA changed its position even more than is

apparent.     While the March 2018 Memorandum called the 4-step

framework “familiar,” citing previous rulemakings, that was an


9 EPA completed the “discussion.” As Louisiana noted, EPA received comments,
revised the contribution metric spreadsheet with more data, and issued further
guidance. CI R06-4 at 5. Otherwise, EPA violated its promise to continue to develop
the framework with the States.
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overstatement. CSAPR had two steps. EME Homer, 572 U.S. at 500.

The latest cited, the CSAPR Update, had four. 81 Fed. Reg. 74,504,

74507 (Oct. 26, 2016). But step three there was nominally “identifying

upwind emissions” contributing significantly rather than “identify[ing]

the emissions reductions necessary” as here. Compare id. with CI HQ-

20 at 9,338. Louisiana focused on identifying areas of the State with

significant emissions. Its step three constituted a reasonable take on the

latest version of EPA’s four-step framework as of the March 2018

Memorandum.      When EPA insisted on proceeding to its multifactor

control test, it also disregarded this reasonable interpretation.

     For the August 2018 Memorandum, EPA took a different tack.

EPA argued that it had not formally rejected an alternative threshold—

despite finding its own and every State’s arguments insufficient—so it

had no obligation to conduct an analysis of its change in position. See CI

HQ-20 at 9,373. This explanation holds no water. See Dep’t of Commerce

v. New York, 139 S. Ct. 2551, 2575 (2019) (noting that courts are “not

required to exhibit a naivete from which ordinary citizens are free”).

While the memorandum noted that it “may not apply” to all “facts and

circumstances,” it characterized itself as “guidance” and as “providing


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recommendations” about other thresholds.               CI HQ-4 at 1 (emphasis

added). And it did so without requiring any State-specific justification.

The memorandum’s comprehensive analysis was nationwide and more

detailed than what EPA originally gave for the one percent threshold.

Compare id. at 3–4 with 76 Fed. Reg. at 48,236–38.

     EPA also argues that any reliance interests for the August 2018

Memorandum were insignificant because States did not incur

compliance costs or make State-specific arguments. HQ-20 at 9,373.

This ignores that Louisiana based its analysis on not including two

receptors linked at a one percent threshold but not at 1 ppb. EPA

criticized Louisiana for this even in the final action. EPA’s unwillingness

to acknowledge the change and its weight further highlights EPA’s

general disregard of Louisiana’s reliance interests.                  See Encino

Motorcars, 579 U.S. at 222.

     This Court has recently rejected similar efforts by administrative

agencies to disclaim reliance based on less than absolute language in

guidance memoranda. See R.J. Reynolds Vapor Co. v. FDA, 65 F.4th 182

(5th Cir. 2023); Wages & White Lion Invs., LLC v. FDA, 16 F.4th 1130

(5th Cir. 2021); see also Wages & White Lion Invs., LLC v. FDA, 58 F.4th


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233 (5th Cir. 2023) (vacating contrary opinion and granting rehearing en

banc).     In those cases, the FDA stated that it did “not expect that

applicants w[ould] need to conduct long-term studies to support an

application” but then denied submissions for lacking that information.

R.J. Reynolds, 65 F.4th 187. This Court has repeatedly held that the

FDA failed to consider reasonable reliance interests. See id. at 187, 189–

90.

      Here, the situation is far worse. EPA affirmatively recommended

reliance on flexibilities and then-available data in a context where the

statute champions state discretion. Changing the evaluation standards

and modeling after submission constituted an unlawful “surprise

switcheroo.” See id. at 189 & n.6.; Wages & White Lion, 16 F.4th. at 1138.

      Because EPA did not recognize it changed its position, did not

consider reliance on the March 2018 Memorandum and failed to seriously

consider reliance on the August 2018 Memorandum, its action was

arbitrary and capricious. See Regents, 140 S. Ct. at 1913.

      C.      The central justification for EPA’s approach is
              undermined by its own inconsistent actions.

      Throughout EPA’s review of the good neighbor SIPs, EPA stressed

the need for a “nationally consistent 4-Step framework,” “nationally

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consistent policy judgments,” and “nationwide air quality modeling.” CI

R06-1 at 9,800, 9,835; CI HQ-20 at 9,339, 9,354. EPA repeatedly used

desire for nationwide consistency—and “equity” between States—to

reject Louisiana’s and other States’ alternative approaches and methods

of demonstrating compliance with the CAA. See, e.g., CI R06-1 at 9,807,

9,813. Yet EPA’s own actions contradicted these considerations and

created significant disparity between States.

     States’ SIPs were approved, disapproved, or held in limbo based in

substantial part on what modeling EPA used and when it reached a final

decision. For Connecticut, the March 2018 data linked it to New York

by a 0.83 ppb contribution for 2023.           CI HQ-3 at C-2.       Connecticut

proposed no emissions reductions, but EPA approved its SIP based on

the 2016v1 modeling with a 2021 analytical year because Connecticut’s

contribution fell below one percent. Air Plan Approval, 86 Fed. Reg.

48,357, 48,360–61 (Aug. 30, 2021); CI HQ-20 at 9,365. For Kansas, its

SIP argued that a below-1 ppb linkage should be ignored, but EPA

approved the SIP after new modeling with a 2023 analytical year

(probably 2016v2 modeling) found that the contribution had dropped




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below one percent. Air Plan Approval, 87 Fed. Reg. at 7,071, 7,072–75

(Feb. 8, 2022).

     The situation was largely reversed for other states.               Delaware

originally had no linkages, so EPA approved its SIP, but then the 2016v2

modeling created a one percent linkage, so EPA proposed to retroactively

disapprove the SIP in its proposed FIP. CI HQ-20 at 9,362, 9,364. Now

the 2016v3 modeling again shows no linkages, see CI HQ-70, and EPA

has not promulgated the FIP, so the fate of that SIP is unclear. Opposite

that is the situation for Arizona’s and Iowa’s SIPs. EPA proposed

approving them based on 2016v2 modeling, CI HQ-20 at 9,344, but after

the 2016v3 modeling demonstrated a linkage again, CI HQ-70, EPA has

apparently not acted.     And EPA used its new “violating-monitor”

receptor linkages to avoid acting on Tennessee’s SIP; it noted that

Kansas was now linked to one without indicating what would be done

about that. CI HQ-20 at 9,349.

     The disparate treatment is unlawful, especially given that EPA has

disclaimed any justification other than its choice to continue revising its

modeling and assumptions. See Clean Wisconsin v. EPA, 964 F.3d 1145,

1161 (D.C. Cir. 2020); Univ. of Texas, 985 F.3d at 479.                  But this


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haphazard approach also destroys EPA’s rationale for adopting its

framework in the first place, again rendering its reliance on the

framework to reject Louisiana’s SIP unlawful.

II.   EPA WAS ARBITRARY AND CAPRICIOUS IN REJECTING LOUISIANA’S
      AIR QUALITY ANALYSIS.


      In proposing to reject Louisiana’s analysis of the significance of its

contributions, EPA relied on general criticisms of Louisiana’s tools. But

in the final action, EPA switched without explanation to a disapproval

based on vague “technical flaws.”               EPA’s criticisms were also

contradicted by EPA’s own positions—it has used the same analysis as

Louisiana for the same purpose. And apart from these inconsistencies,

EPA also failed to respond to the central point of Louisiana’s analysis.

      A.   Louisiana’s air quality analysis did not have “technical
           flaws,” and EPA’s conclusion based on such flaws was
           without reason.

      Much like EPA’s approach to the framework, EPA primarily

rejected Louisiana’s air quality analysis in its proposed disapproval

because EPA preferred its own despite nothing necessitating that. EPA

did not seriously consider Louisiana’s analysis, even in comparison with

other States’. Yet in its final action, EPA grounded its disapproval on



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unspecified “technical flaws.”     This change was unexplained and

unjustified.

     Rather than engaging with Louisiana’s analysis, EPA lobbed

general criticisms. EPA criticized Louisiana’s HYSPLIT back trajectory

analysis because, in contrast with its own CAMx photochemical

modeling, back trajectories do not consider chemical processes and

cannot “quantitatively evaluate” contributions from upwind states to

downwind receptors. CI R06-1 at 9,815. EPA also criticized Louisiana’s

assessment of weather patterns and wind roses because they change over

time and are not specific to high ozone days that cause NAAQS

violations. Id.

     EPA did not point to any way that Louisiana’s specific analyses

were technically flawed. The closest it came was to assert, in a single

sentence, that “LDEQ proffered that some of these back trajectories did

not pass directly over areas with emissions but did not consider that the

back trajectories only represent a centerline and there are areas on

either side of the centerline that would be contributing areas.” Id. at

9,815. This critique is baseless. Nothing in Louisiana’s SIP suggests

that it failed to contemplate the general nature of back trajectory


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modeling.   Quite the opposite.     The SIP categorized trajectories by

whether they crossed broad regions of the State—northern/central

versus south Louisiana, with significant emissions sources being only in

south Louisiana. CI R06-4 at 13. EPA provided no reason that a third

of the State was too granular. And it did not assert that if areas “on the

side of the centerline” were properly considered then the counting of

trajectories would have differed. EPA’s assertion “runs counter to the

evidence before the agency,” is too “implausible” to ascribe to “the

product of agency expertise,” and is “a clear error of judgment.” See State

Farm, 463 U.S. at 43; Univ. of Texas, 985 F.3d at 475; see also Clean

Wisconsin, 964 F.3d at 1162 (finding arbitrary and capricious EPA’s

failure to provide specific distances or explain their import for

contribution analysis).

     EPA’s lack of critical technical commentary contrasted markedly

with its evaluation of other States using HYSPLIT. For example, EPA

pointed to numerous ways that Arkansas’s back trajectory analyses were

purportedly “flawed.” CI R06-1 at 9,809 & n.55. That included a specific

example of how Arkansas used only a centerline and ignored specific

contributions.   Id. (noting that Arkansas’s removal of certain back


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trajectories that “passed near but not through Arkansas” was flawed

“because Arkansas has some very large point sources near the Arkansas

state line that could be contributing”). EPA found no such errors in

Louisiana’s analysis.

     Therefore, when the final action simply relied on EPA’s having

found unspecified “technical flaws” in each of Louisiana’s “assessment of

seasonal weather patterns, surface wind directions, and back trajectory

analysis,” CI HQ-20 at 9,356, that was ipse dixit and mischaracterized

the record. EPA’s disapproval, based on this mischaracterization, was

arbitrary and capricious. See State Farm, 463 U.S. at 52 (holding that

changed conclusion requires new reasoning).

     B.    EPA’s general criticisms of Louisiana’s air quality
           analysis are contradicted by its own words and
           practice.

     The bulk of EPA’s argument against Louisiana’s back trajectory

analysis rested on the comparative power of CAMx photochemical

source-apportionment modeling for the task at hand. EPA praised that

modeling as “the most sophisticated tool available” and as “fundamental

to understanding and assessing the effects of emissions on air quality

concentrations.”       CI R06-1 at 9,815.            At the same time, EPA


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acknowledged that it also “relies on back trajectory analysis as a

corollary analysis along with observation-based meteorological wind

fields at multiple heights to examine the general plausibility of the

photochemical model ‘linkages.’” Id. But this admission dramatically

understates both the utility of those tools and EPA’s use of them.

     EPA has used HYSPLIT and wind roses extensively, and instead

of CAMx source-apportionment modeling, for NAAQS attainment

designations. In that process, EPA must determine whether one area of

a state “contributes” to a NAAQS violation in a “nearby area.”

Mississippi Comm’n on Env’t Quality v. EPA, 790 F.3d 138, 145, 159

(D.C. Cir. 2015) (quoting 42 U.S.C. § 7407(d)(1)(A)(i)). EPA has called

HYSPLIT an “excellent tool” for this. Id. at 167. Indeed, EPA defended

in court its use of only wind rose analysis in some areas and HYSPLIT

in others, including against Texas’s use of source-apportionment

analysis and against the argument that HYSPLIT modeling “cannot

measure ozone formation or transport.” Id. at 168–69. As part of that

rulemaking, in response to a comment that “HYSPLIT modeling is not

capable of reliably tracking ozone or its precursors,” EPA responded that

this “reflect[ed] a fundamentally incorrect view” and that HYSPLIT


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“give[s] a reliable indication of the areas that could be contributing to an

exceedance.”   Responses to Significant Comments on the State and

Tribal Designation Recommendations for the 2008 Ozone National

Ambient Air Quality Standards (NAAQS) at 60 (Apr. 30, 2012). And for

the 2015 ozone NAAQS attainment designations, EPA also relied on

HYSPLIT. See Clean Wisconsin, 964 F.3d at 1155. Additionally, in pre-

SIP submission comments, EPA referred Louisiana specifically to

HYSPLIT analyses done by EPA in its CSAPR Update rulemaking and

by Texas for the Brazoria-Galveston nonattainment area as “existing

analyses that the LDEQ can draw on.” CI R06-4 at 26.

     Yet EPA also performed HYSPLIT back trajectory analyses here

and lauded their utility. Before final disapproval, EPA created hundreds

of back trajectories from nonattainment and maintenance receptors on

days with measured exceedances. This created a “transport climatology”

for those receptors. CI HQ-85 at 24. A “transport climatology” provides

“a semi-quantitative approach” for identifying transport patterns on

days with measured exceedances and “a qualitative method to

corroborate upwind-downwind linkages derived from the air quality

contribution modeling.” Id. EPA followed this same approach in the


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CSAPR rulemaking. See CI R06-4 at 26. Although EPA failed to use

these effectively here, see infra, it cannot question their obvious utility

when Louisiana used them for precisely the same purpose.

     Beyond EPA’s example, Louisiana had good reason to use

HYSPLIT as it did. As EPA has implicitly recognized, HYSPLIT is in

some ways superior to CAMx. The latter uses “modeled” meteorology for

a single year (here, 2016). CI HQ-85 at 6–8. HYSPLIT, however, also

uses “actual observed data” to “estimate the most likely route of an air

parcel transported to a receptor at a specified time.” CI R06-1 at 9,815.

Thus, as EPA acknowledges, HYSPLIT can test whether contributions

modeled by CAMx are “plausible”—just as it can “corroborate,” it can

also undermine. Louisiana also performed HYSPLIT analyses for three

years of actual data (2016–2018), CI R06-4 at 13, still more recent and

comprehensive than in EPA’s 2016-based models.

     Accordingly, EPA’s conclusions cannot be salvaged by its general

criticisms of back trajectory and other analysis. None of those reveal

“technical flaws.” But if EPA seeks to denigrate the tools Louisiana used

to test the plausibility of modeled ozone contributions without technical

criticism specific to Louisiana’s use, that also runs counter to EPA’s own


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statements in the same action and in other rulemakings to which EPA

pointed Louisiana for guidance. That represents a failure to consider

relevant factors and a clear error in judgement.              But it also is an

“[u]nexplained inconsistency” that again renders EPA’s conclusion

arbitrary and capricious. Encino Motorcars, 579 U.S. at 222. So too

EPA’s failure to consider Louisiana’s reliance interest in using a well-

recognized tool to perform the same analysis as EPA did even for the

same NAAQS. See id.

     Moreover, EPA’s rejection of Louisiana’s efforts is also arbitrary

and capricious and beyond EPA’s authority because it too inverts the

CAA. At the time Louisiana submitted its SIP, LDEQ could not perform

CAMx modeling on its own. See Sierra Club v. EPA, 939 F.3d 649, 661

(5th Cir. 2019). By effectively requiring use of CAMx modeling after

Louisiana’s SIP was submitted, EPA ensured that it could freely displace

Louisiana’s analysis in favor of its own. This created another unlawful

requirement of demonstration, and one particularly contrary to the

statute given the contrast with other CAA provisions requiring specific

modeling.   And that was joined by yet another when EPA required




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Louisiana to affirmatively state that it was not making obvious errors in

its back trajectory analysis. In this too EPA transgressed the CAA.

     C.    To the extent EPA attempted to substantively disagree
           with Louisiana’s analysis, it failed by not engaging
           with central points.

     Even if EPA’s other errors could be ignored, EPA’s minimal

substantive analysis of Louisiana’s work would not justify the SIP

disapproval. EPA failed to engage with Louisiana’s central argument

that the air simply did not come from emissions sources in Louisiana on

high ozone days, first in the proposed disapproval, and then after

creating its “transport climatology.”

     In the proposed disapproval, EPA asserted that Louisiana’s

analysis had actually “confirmed that Louisiana is an upwind area for

the receptors in Texas often enough to potentially contribute to

nonattainment or interfere with maintenance” and that it did not

“provide evidence that was contrary to the conclusions of the EPA’s

photochemical modeling analyses.” CI R06-1 at 9,815.

     There are many problems with these minimal statements. First,

nothing about this is a “technical flaw” that could support its final

conclusion. Second, what EPA thought was “confirmed” is meaningless.


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EPA does not even cite the right standard. The statute requires a SIP

to prohibit specific “sources” or “emissions activity” that “will” either

“contribute   significantly   to   nonattainment”          or   “interfere      with

maintenance.”    42 U.S.C. § 7410(a)(2)(D)(i) (emphasis added).                  No

obligation exists when a State could “potentially contribute” something

minimal. EPA’s own threshold ignores likely contributions that it deems

insignificant. If Louisiana’s analysis could show that whatever likely

contributions are de minimis—which EPA’s statement does not rule

out—then that analysis would provide evidence contrary to EPA’s

photochemical modeling conclusions.           And Louisiana’s analysis does

show that. So EPA’s conclusion does not logically follow. Third, and

relatedly, EPA’s bare assertion and conclusion exhibit a “paucity of

reasoning” contrary to the requirement that agency actions must be

reasonable and reasonably explained. See BNSF Ry. Co. v. Fed. R.R.

Admin., 62 F.4th 905, 910–11 (5th Cir. 2023).

     Regarding EPA’s “transport climatology,” although EPA created it,

EPA never discussed what it showed in any detail, even in the

description of why EPA ran the back trajectories. CI HQ-85 at 24. EPA

offered a minimal explanation in response to a comment by Louisiana


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Chemical Association.        That comment repeated Louisiana’s back

trajectory analysis, including the percentages that crossed various parts

of the state. CI HQ-83 at 362–63. EPA cited its own back trajectory

analysis and stated that its “trajectories indicate that the air can travel

from east to west such that Louisiana is upwind of the Denton and

Houston receptors on days when ozone exceeds the NAAQS. This result

confirms the EPA’s finding that Louisiana is linked10 to these receptors

in Texas.” Id. at 364.

      That again misses the point of Louisiana’s work.                   Louisiana

acknowledged that it is sometimes upwind of Texas when an exceedance

occurs. But it concluded that, because most of the trajectories through

Louisiana passed through areas with low emissions, Louisiana did not

significantly contribute to those exceedances. See CI R06-4 at 13–14. Air

coming from a state is not enough; under the good neighbor provision, it

must come from “sources” or “emissions activity” to require action.

Louisiana’s central point is a “significant” point and requires a response

because, if EPA accepted it, EPA would have to change its disapproval.



10 EPA’s focus on linkage demonstrates once again EPA’s blinkered approach to its
framework. Whether the receptor was “linked” was relevant to EPA’s step two, not
Louisiana’s analysis of significance.
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Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421, 449 (5th Cir. 2021). A

response was required by EPA’s general responsibility to have

“reasonably considered the relevant issues and reasonably explained the

decision.” Id. (quoting FCC v. Prometheus Radio Project, 141 S. Ct. 1150,

1158 (2021)). Yet EPA has never provided a response. And it has not

found some infirmity in Louisiana’s reasoning, so there is no basis to

defer to EPA’s technical expertise. See Texas 2012, 690 F.3d at 678. That

gap in reasoning renders its disapproval arbitrary and capricious. See

Huawei Techs., 2 F.4th at 449.

     Disapproving a SIP “surely requires more than the EPA’s bare

conclusion.” Texas 2012, 690 F.3d at 678. Because that is all EPA

offered, its disapproval of Louisiana’s SIP must be set aside.

                            CONCLUSION

     For the foregoing reasons, the Court should grant the petition,

vacate EPA’s final action disapproving Louisiana’s good neighbor SIP,

and remand.




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                       CERTIFICATE OF SERVICE

     I hereby certify that on May 30, 2023, a true and correct copy of the

foregoing has been served on all parties in accordance with the Appellate

Rules of Civil Procedure, via the Court’s CM/ECF system.



                                                    /s/ Joseph S. St. John
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